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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                                                    )
                                                           )
 BADLANDS ENERGY, INC.                                     )     Case No. 17-17465 KHT
 EIN: XX-XXXXXXX,                                          )     Chapter 11
                                                           )
          Debtor.
                                                           )
                                                           )
 In re:
                                                           )
 BADLANDS PRODUCTION COMPANY                               )     Case No. 17-17467 KHT
 EIN: XX-XXXXXXX,                                          )     Chapter 11
                                                           )
          Debtor.                                          )
                                                           )
 In re:
                                                           )
 BADLANDS ENERGY-UTAH, LLC                                 )     Case No. 17-17469 KHT
                                                           )     Chapter 11
 EIN: XX-XXXXXXX,
                                                           )
          Debtor.                                          )
                                                           )
 In re:
                                                           )
                                                           )     Case No. 17-17471 KHT
 MYTON OILFIELD RENTALS, LLC
                                                           )     Chapter 11
 EIN: XX-XXXXXXX,
                                                           )
          Debtor.                                                Jointly Administered Under
                                                           )
                                                                 Case No. 17-17465 KHT
                                                           )

        ORDER (A) APPROVING THE ASSET PURCHASE AGREEMENT
  BETWEEN DEBTOR BADLANDS PRODUCTION COMPANY AND WAPITI UTAH,
           L.L.C., (B) AUTHORIZING THE SALE OF SUBSTANTIALLY
   ALL OF THE DEBTOR’S ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
         ENCUMBRANCES, AND INTERESTS, (C) AUTHORIZING THE
            ASSUMPTION AND ASSIGNMENT OF CONTRACTS, AND
                        (D) GRANTING RELATED RELIEF


          Upon the motion (the “Sale Motion”)1 of the above-captioned debtor and debtor in

 possession Badlands Production Company (the “Debtor”), for entry of an order (the “Sale


          1
           Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
 them in the Sale Motion or the Agreement (as defined herein), as applicable.
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 Order”): (a) approving that certain purchase and sale agreement, dated as of August 7, 2017, by

 and between the Debtor and Wapiti Utah, L.L.C. f/k/a Wapiti Newco, L.L.C. (the “Buyer”) (as

 amended from time to time, the “Agreement”), (b) authorizing and approving the sale (the

 “Sale”) of the Property free and clear of all liens, liabilities, claims, interests, and other

 encumbrances as set forth in the Agreement, (c) authorizing the Debtor to assume and assign the

 contracts set forth on Exhibit 1 attached hereto (the “Assumed Contracts”) to the Buyer as set

 forth in the Agreement, and (d) granting certain related relief; and this Court, in furtherance of

 the Motion, having entered an order on October 3, 2017 at [Docket No.164] (the “Bid Procedures

 Order”) approving, among other things, the proposed Bid Procedures appended to the Bid

 Procedures Order, the notice of the Sale, and procedures for determining and fixing cure costs to

 be paid in respect of Assumed Contracts; and the Debtor having determined, after an extensive

 marketing process, that the Buyer has submitted the highest and best bid for the Property; and

 upon adequate and sufficient notice of the Sale Motion, the Bid Procedures, the Auction, the

 Agreement, and all other related transactions contemplated thereunder and in this Sale Order

 having been given in the manner directed by the Court in the Bid Procedures Order; and all

 interested parties having been afforded an opportunity to be heard with respect to the Sale

 Motion and all relief related thereto; and the Court having reviewed and considered (i) the Sale

 Motion, (ii) the objections thereto and (iii) statements of counsel and the evidence proffered in

 support of the relief requested by the Debtor in the Sale Motion at a hearing before the Court on

 October 25, 2017 (the “Sale Hearing”); and the Court having jurisdiction over this matter; and it

 appearing that the legal and factual bases set forth in the Sale Motion and at the Sale Hearing

 establish just cause for the relief granted herein; and it appearing that the relief requested in the

 Sale Motion is in the best interests of the Debtor, its estate, its creditors, and all other parties in


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 interest; and upon the record of the Sale Hearing and all other pleadings and proceedings in these

 chapter 11 cases, including the Sale Motion; and after due deliberation thereon; and good and

 sufficient cause appearing therefor,

                   THE COURT HEREBY FINDS AND DETERMINES THAT:2

                        Jurisdiction, Final Order, and Statutory Predicates

         A.      This Court has jurisdiction to hear and determine the Sale Motion pursuant to 28

 U.S.C. §§ 157(b)(l) and 1334(a). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A),

 (N) and (O). Venue is proper in this District and in the Court pursuant to 28 U.S.C. §§ 1408 and

 1409.

         B.      The predicates for the relief requested in the Sale Motion are sections 105(a), 363,

 and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9007, and 9014.

         C.      This Sale Order constitutes a final order within the meaning of 28 U.S.C. §

 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent necessary

 under Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as made

 applicable by Bankruptcy Rule 7054, the Court expressly finds that there is no just reason for

 delay in the implementation of this Sale Order, waives any stay and expressly directs entry of

 judgment as set forth herein.

                           Notice of the Sale, Auction, and Cure Amounts

         D.      Actual written notice of the Sale Motion, and a reasonable opportunity to object

 or be heard with respect to the Sale Motion and the relief requested therein, has been afforded to



         2
           The findings and conclusions set forth herein constitute the Court’s findings of fact and
 conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to
 Bankruptcy Rule 9014. To the extent that any of the following findings of fact constitute conclusions of
 law, they are adopted as such. To the extent any of the following conclusions of law constitute findings of
 fact, they are adopted as such.

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 the following entities and parties (the “Notice Parties”): (a) the Office of the United States

 Trustee for the District of Colorado; (b) the administrative agent under the Debtors’ prepetition

 credit facility; (c) all creditors on the Debtor’s list of creditors with the 20 largest unsecured

 claims; (d) the United States Attorney’s Office for the District of Utah; (e) the Internal Revenue

 Service; (f) the Environmental Protection Agency; (g) the office of the Attorney General for the

 State of Utah; (h) counsel to the Stalking Horse Bidder; (i) the United States Bureau of Land

 Management; (j) the Utah Department of Environmental Quality; (k) all parties identified as

 secured creditors in Debtor’s Schedule D filed as required by Section 521(a)(1)(A) of the

 Bankruptcy Code; and (l) any party that has requested notice pursuant to Bankruptcy Rule 2002.

         E.      Actual written notice of the auction for the Sale of the Property that was

 scheduled for October 12, 2017 (the “Auction”), the Sale Hearing, the Sale of the Property, and a

 reasonable opportunity to object or be heard with respect thereto, has been afforded to the

 following entities and parties: (a) the Notice Parties; (b) counterparties to the Assumed Contracts

 (the “Contract Counterparties”); (c) all parties who are known or reasonably believed, after

 reasonable inquiry, to have asserted any lien, encumbrance, claim, or interest in the Property;

 (d) all applicable state and local taxing authorities; (e) all the Debtor’s other scheduled creditors;

 and (f) any governmental agency known to the Debtor to be an interested party with respect to

 the Sale.

         F.      In accordance with the provisions of the Bid Procedures Order, the Debtor has

 served notice upon the Contract Counterparties: (i) that the Debtor seeks to assume and assign to

 the Buyer the Assumed Contracts on the Closing Date (as defined in the Agreement) and (ii) of

 the relevant Cure Amounts (defined below). The service of such notice was good, sufficient, and

 appropriate under the circumstances, and no further notice need be given in respect of


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 establishing a Cure Amount for the Contracts. Each of the Contract Counterparties has had or

 will have had an opportunity to object to the Cure Amounts set forth in the notice and to the

 assumption and assignment to the Buyer of the applicable Assigned Contract.

        G.      As evidenced by the affidavits of service previously filed with the Court, proper,

 timely, adequate, and sufficient notice of the Sale Motion, the Auction, the Sale Hearing, the

 Sale, and the transactions contemplated thereby, including without limitation, the assumption and

 assignment of the Assumed Contracts to the Buyer, has been provided in accordance with the

 Bid Procedures Order and sections 105(a), 363, and 365 of the Bankruptcy Code and Bankruptcy

 Rules 2002, 6004, 6006, 9007, and 9008. The notices described herein were good, sufficient, and

 appropriate under the circumstances, and no other or further notice of the Sale Motion, the

 Auction, the Sale Hearing, the Sale, or the assumption and assignment of the Assumed Contracts

 to the Buyer is or shall be required.

        H.      The disclosures made by the Debtor concerning the Sale Motion, the Agreement,

 the Auction, the Sale Hearing, the Sale, and the assumption and assignment of the Assumed

 Contracts to the Buyer were good, complete, and adequate.

        I.      A reasonable opportunity to object and be heard with respect to the Sale and the

 Sale Motion and the relief requested therein (including the assumption and assignment of

 Assumed Contracts to the Buyer and any Cure Costs related thereto), has been afforded to all

 interested persons and entities, including the Notice Parties.

                                         Good Faith of Buyer

        J.      The Agreement was negotiated, proposed, and entered into by the Debtor and the

 Buyer without collusion, in good faith, and from arms’-length bargaining positions.

        K.      Neither the Debtor nor the Buyer have engaged in any conduct that would cause

 or permit the Agreement to be avoided under section 363(n) of the Bankruptcy Code. The Buyer
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 has not acted in a collusive manner with any person and the Purchase Price was not controlled by

 any agreement among the bidders.

        L.      The Buyer is purchasing the Property in good faith and is a good faith buyer

 within the meaning of section 363(m) of the Bankruptcy Code. The Buyer has proceeded in good

 faith in all respects in connection with the Sale including, but not limited to: (i) agreeing to

 subject its bid to the competitive bidding process contemplated in the Bid Procedures Order in

 good faith, (ii) complying with the provisions in the Bid Procedures Order, (iii) neither inducing

 nor causing the chapter 11 filings by the Debtor; and (iv) disclosing all payments and

 commitments to be made by the Buyer in connection with the Sale. The Buyer is therefore

 entitled to all of the protections afforded under section 363(m) of the Bankruptcy Code.

                                       Highest and Best Offer

        M.      The Debtor conducted a sale process in accordance with, and has otherwise

 complied in all respects with, the Bid Procedures Order. The sale process set forth in the Bid

 Procedures Order afforded a full, fair, and reasonable opportunity for any person or entity to

 make a higher or otherwise better offer to purchase the Property. The Auction was duly noticed

 in a noncollusive, fair, and good faith manner, and a reasonable opportunity has been given to

 any interested party to make a higher and better offer for the Property.

        N.      The Agreement constitutes the highest and best offer for the Property, and will

 provide a greater recovery for the Debtor’s estate than would be provided by any other available

 alternative. The Debtor’s determination that the Agreement constitutes the highest and best offer

 for the Property constitutes a valid and sound exercise of the Debtor’s business judgment.

        O.      The Agreement represents a fair and reasonable offer to purchase the Property

 under the circumstances of these chapter 11 cases. No other entity or group of entities has

 offered to purchase the Property for greater overall value to the Debtor’s estate than the Buyer.
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         P.      Approval of the Sale Motion and the Agreement and the consummation of the

 transactions contemplated thereby are in the best interests of the Debtor’s chapter 11 estate, its

 creditors, and other parties in interest.

                                 No Fraudulent Transfer or Merger

         Q.      The consideration provided by the Buyer pursuant to the Agreement (i) is fair and

 reasonable, (ii) is the highest or best offer for the Property, and (iii) constitutes reasonably

 equivalent value (as those terms are defined in each of the Uniform Fraudulent Transfer Act,

 Uniform Fraudulent Conveyance Act, and section 548 of the Bankruptcy Code) and fair

 consideration under the Bankruptcy Code and under the laws of the United States.

         R.      The Buyer is not a mere continuation of the Debtor or its estate and there is no

 continuity of enterprise between the Buyer and the Debtor. The Buyer is not holding itself out to

 the public as a continuation of the Debtor. The Buyer is not a successor to the Debtor or its estate

 and the Sale does not amount to a consolidation, merger, or de facto merger of Buyer and the

 Debtor.

                                             Validity of Transfer

         S.      Debtor has, to the extent necessary or applicable, (i) full corporate power and

 authority to execute and deliver the Agreement and all other documents contemplated thereby,

 (ii) all corporate authority necessary to consummate the transactions contemplated by the

 Agreement, and (iii) taken all corporate action necessary to authorize and approve the Agreement

 and the consummation of the transactions contemplated thereby. The Sale has been duly and

 validly authorized by all necessary corporate action. No consents or approvals, other than those




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 expressly provided for in the Agreement, are required for the Debtor to consummate the Sale, the

 Agreement, or the transactions contemplated thereby.

        T.      Subject to section 363(f) of the Bankruptcy Code, the transfer of each of the

 Property to the Buyer will be, as of the Closing Date, a legal, valid, and effective transfer of the

 Property, which transfer vests or will vest the Buyer with all right, title, and interest of the

 Debtor to the Property free and clear of (i) all liens and encumbrances relating to, accruing, or

 arising any time prior to the Closing Date (collectively, the “Liens”) and (ii) all debts arising

 under, relating to, or in connection with any act of the Debtor or claims (as that term is defined in

 section 101(5) of the Bankruptcy Code), liabilities, obligations, demands, guaranties, options in

 favor of third parties, rights, contractual commitments, restrictions, and interests (collectively,

 the “Claims”), whether arising prior to or subsequent to the commencement of these cases, with

 the exception of Permitted Encumbrances and Assumed Liabilities that are expressly assumed by

 Buyer under the Agreement, including, for the avoidance of doubt, Cure Amounts or any

 obligations arising at or after Closing arising under the Assumed Contracts.

                                      Section 363(f) is Satisfied

        U.       The conditions of section 363(f) of the Bankruptcy Code have been satisfied in

 full; therefore, the Debtor may sell the Property free and clear of any interest in the property

 other than the Permitted Encumbrances and Assumed Liabilities.

        V.       The Buyer would not have entered into the Agreement and would not

 consummate the transactions contemplated thereby if the sale of the Property to the Buyer and

 the assumption of any Assumed Liabilities by the Buyer were not free and clear of all Liens and

 Claims, other than Permitted Encumbrances and the Assumed Liabilities, or if the Buyer would,

 or in the future could, be liable for any of such Liens and Claims (other than Permitted

 Encumbrances and the Assumed Liabilities). Unless expressly included in Permitted
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 Encumbrances or Assumed Liabilities, the Buyer shall not be responsible for any Liens or

 Claims.

        W.      The Debtor may sell the Property free and clear of all Liens and Claims against

 the Debtor, its estate or any of the Property (except the Permitted Encumbrances and Assumed

 Liabilities) because, in each case, one or more of the standards set forth in section 363(f)(l)-(5) of

 the Bankruptcy Code has been satisfied. Those holders of Liens or Claims against the Debtor, its

 estate, or any of the Property who did not object, or who withdrew their objections, to the Sale or

 the Sale Motion are deemed to have consented pursuant to section 363(f)(2) of the Bankruptcy

 Code. All other holders of Liens or Claims (except to the extent that such Liens or Claims are

 Assumed Liabilities or Permitted Encumbrances) are adequately protected by having their Liens

 or Claims, if any, in each instance against the Debtor, its estate, or any of the Property, attach to

 the cash proceeds of the Sale ultimately attributable to the Property in which such creditor

 alleges a Lien or Claims, in the same order of priority, with the same validity, force, and effect

 that such Liens or Claims had prior to the Sale, subject to any claims and defenses the Debtor

 and its estate may possess with respect thereto.

        X.       Under the Agreement, the Debtor does not assume the Monarch Natural Gas,

 LLC (“Monarch”) gathering agreement and seeks to sell the Property free and clear of such

 agreement. Monarch has asserted that the gas gathering agreement is a covenant running with

 the land and as such it cannot be sold free and clear under Section 363(f) of the Bankruptcy Code

 and/or must be assumed by the Buyer.      Monarch also asserts that the prepetition claim (default)

 is an encumbrance against the Property irrespective of whether the contract is actually assumed

 or not and that the Buyer of the Property is therefore liable for payment. On October 23, 2017,

 Monarch commenced adversary proceeding number 17-1429 KHT (the “Monarch Adversary”)


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  in this Court arguing that, among other things, the gas gathering agreement is a “covenant

  running with the land” that cannot be rejected, and that any sale of the Property is subject to such

  agreement.

          Y.      The Debtor and the Buyer believe that the gas gathering agreement is an

  executory contract that the Debtor may reject under applicable law, and that the Property may be

  sold free and clear of all pre-petition amounts the Debtor may owe to Monarch.

          Z.      The Buyer agrees that if it is determined that Monarch has an interest in the

  Property that cannot be sold free and clear under Section 363(f) of the Bankruptcy Code then

  such interest shall be deemed a Permitted Encumbrance under this Sale Order. If it is determined

  that Monarch’s gas gathering agreement or the salt water disposal agreement (which are the

  subject of the Monarch Adversary) cannot be rejected or sold free and clear, Buyer will be

  responsible for the obligations under those agreements, including any pre-petition amounts that

  cannot be sold free and clear or that the Court otherwise determines must be cured by the Buyer.

  For avoidance of doubt, the Buyer is not responsible for paying any pre-petition claims that

  Monarch has against the Debtor unless it is determined by the Court, subject to the parties’ rights

  to appeal, that the Buyer is required to pay such pre-petition claim.

                                           Cure/Adequate Protection

          AA.     The assumption and assignment of the Assumed Contracts pursuant to the terms

  of this Sale Order is integral to the Agreement and is in the best interests of the Debtor and its

  estate, its creditors, and all other parties in interest, and represents the reasonable exercise of

  sound and prudent business judgment by the Debtor. The Buyer shall: (i) to the extent necessary,

  cure or provide adequate assurance of cure, of any default existing prior to the date hereof with

  respect to the Assumed Contracts, within the meaning of 11 U.S.C. §§ 365(b)(1)(A) and


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  365(f)(2)(A), and (ii) to the extent necessary, provide compensation or adequate assurance of

  compensation to any party for any actual pecuniary loss to such party resulting from a default

  prior to the date hereof with respect to the Assumed Contracts, within the meaning of 11 U.S.C.

  § 365(b)(1)(B) and 365(f)(2)(A). The Buyer’s promise to pay the Cure Amounts and to perform

  the obligations under the Assumed Contracts after the Closing Date shall constitute adequate

  assurance of future performance within the meaning of 11 U.S.C. §§ 365(b)(1)(C) and

  365(f)(2)(B).

         BB.      Any objections to the assumption and assignment of any of the Assumed

  Contracts to the Buyer are hereby overruled or withdrawn, or have been resolved by the terms of

  this Sale Order. Any objections to the Cure Amounts are hereby overruled or withdrawn, or

  have been resolved by the terms of this Sale Order. To the extent that any Contract Counterparty

  failed to timely object to its Cure Amount or the assumption and assignment of its Contract to

  the Buyer, such Counterparty is deemed to have consented to such Cure Amount and the

  assignment of its Contract to the Buyer.

                         Compelling Circumstances for an Immediate Sale

         CC.      Good and sufficient reasons for approval of the Agreement and the Sale have

  been articulated. The Debtor has demonstrated both (i) good, sufficient, and sound business

  purposes and justifications for approving the Agreement and (ii) compelling circumstances for

  the Sale outside the ordinary course of business, pursuant to section 363(b) of the Bankruptcy

  Code before, and outside of, a plan of reorganization, in that, among other things, the immediate

  consummation of the Sale to the Buyer is necessary and appropriate to maximize the value of the

  Debtor’s estate and the Sale will provide the only means by which the Debtor may satisfy the

  Assumed Liabilities.


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          DD.    To maximize the value of the Property and preserve the viability of the business

  to which the Property relate, it is essential that the Sale of the Property occur within the time

  constraints set forth in the Agreement. Time is of the essence in consummating the Sale.

          EE.    The Sale does not constitute a sub rosa chapter 11 plan for which approval has

  been sought without the protections that a disclosure statement would afford. The Sale does not

  impermissibly restructure the rights of the Debtor’s creditors.

          FF.    The consummation of the Sale and the assumption and assignment of the

  Assumed Contracts is legal, valid and properly authorized under all applicable provisions of the

  Bankruptcy Code, including, without limitation, sections 105(a), 363(b), 363(f), 363(m), and

  365, and all of the applicable requirements of such sections have been complied with in respect

  of the Sale.

          NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

  THAT:

                                          General Provisions

          1.     The relief requested in the Sale Motion and the transactions contemplated thereby

  and by the Agreement are approved as set forth in this Sale Order and on the record of the Sale

  Hearing, which is incorporated herein as if set forth fully in this Sale Order, and the Sale

  contemplated thereby is approved.

          2.     All objections to the Sale Motion or the relief requested therein that have not been

  withdrawn, waived, or settled by announcement to the Court during the Sale Hearing or by

  stipulation filed with the Court or the terms of this Sale Order, including any and all reservations

  of rights included in such objections or otherwise, are hereby denied and overruled on the merits

  with prejudice. Those parties who did not object or withdrew their objections to the Sale Motion

  are deemed to have consented pursuant to section 363(f)(2) of the Bankruptcy Code.
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         3.      This Court’s findings of fact and conclusions of law set forth in the Bid

  Procedures Order are incorporated herein by reference.

                                     Approval of the Agreement

         4.      The Agreement and all other ancillary documents, and all of the terms and

  conditions thereof, are hereby approved.

         5.      Pursuant to sections 363(b) and (f) of the Bankruptcy Code, the Debtor is

  authorized, empowered, and directed to use its reasonable best efforts to take any and all actions

  necessary or appropriate to (a) consummate the Sale pursuant to and in accordance with the

  terms and conditions of the Agreement, (b) close the Sale as contemplated in the Agreement and

  this Sale Order, and (c) execute and deliver, perform under, consummate, implement, and fully

  close the Agreement, including the assumption and assignment to the Buyer of the Assumed

  Contracts, together with all additional instruments and documents that may be reasonably

  necessary or desirable to implement the Agreement and the Sale. The Buyer shall not be required

  to seek or obtain relief from the automatic stay under section 362 of the Bankruptcy Code to

  enforce any of its remedies under the Agreement or any other Sale related document. The

  automatic stay imposed by section 362 of the Bankruptcy Code is modified solely to the extent

  necessary to implement the preceding sentence and the other provisions of this Sale Order.

         6.      This Sale Order shall be binding in all respects upon the Debtor, its estate, all

  creditors of, and holders of equity interests in, the Debtor, any holders of Liens or Claims

  (whether known or unknown) in, against or on all or any portion of the Property, all Contract

  Counterparties, the Buyer and all successors and assigns of the Buyer, the Property, and any

  trustees, if any, subsequently appointed in any of the Debtor’s chapter 11 case or upon a

  conversion to chapter 7 under the Bankruptcy Code of any of the Debtor’s case.


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                                       Transfer of the Property

         7.      Pursuant to sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, the

  Debtor is authorized and directed to use reasonable best efforts to transfer the Property to the

  Buyer on the Closing Date and such transfer shall constitute a legal, valid, binding, and effective

  transfer of such Property and shall vest Buyer with title to the Property and, upon the Debtor’s

  receipt of the Purchase Price, other than Permitted Encumbrances and Assumed Liabilities, shall

  be free and clear of all Liens, Claims, and other interests of any kind or nature whatsoever,

  including but not limited to, (a) successor or successor-in-interest liability, and (b) Claims in

  respect of the Excluded Liabilities, with all such Liens, Claims, or other interests to attach to the

  cash proceeds ultimately attributable to the property against or in which such Liens, Claims, or

  other interests are asserted, subject to the terms thereof, with the same validity, force, and effect,

  and in the same order of priority, which such Liens, Claims, or other interests now have against

  the Property, subject to any rights, claims, and defenses the Debtor or its estate, as applicable,

  may possess with respect thereto. Such Liens, Claims, or other interests include, but are not

  limited to, those asserted by Halliburton Energy Services, Inc. and Multi-Chem Group, LLC, in

  adversary proceeding number 17-1427 KHT (the “Halliburton Adversary”). Upon the Closing,

  the Buyer shall take title to and possession of the Property subject only to the Permitted

  Encumbrances and Assumed Liabilities.

         8.      All persons and entities that are in possession of some or all of the Property on the

  Closing Date are directed to surrender possession of such Property to the Buyer at the Closing.

  On the Closing Date, each of the Debtor’s creditors is authorized and directed to execute such

  commercially reasonable documents and take all other commercially reasonable actions as may

  be reasonably necessary to release its Liens, Claims, or other interests in the Property, if any, as

  such Liens, Claims or interests may have been recorded or may otherwise exist. The Buyer is
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  authorized to take any action on behalf of the Debtor to evidence entry of this Sale Order and the

  release of any Liens, Claims, or other interests in Property pursuant to this Sale Order.

         9.      The transfer of the Property to the Buyer pursuant to the Agreement does not

  require any consents other than as specifically provided for in the Agreement. On the Closing

  Date, this Sale Order shall be construed and shall constitute for any and all purposes a full and

  complete general assignment, conveyance and transfer of the Debtor’s interests in the Property.

  Each and every federal, state, and local governmental agency or department is hereby directed to

  accept any and all documents and instruments necessary and appropriate to consummate the

  transactions contemplated by the Agreement.

         10.     To the extent that (a) there are restrictions on the sale, assignment, transfer,

  conveyance or delivery, or attempted sale, assignment, transfer, conveyance or delivery, to

  Buyer of any Purchased Asset or (b) the same would require the consent, authorization, approval

  or waiver of a person or entity who is not a party to the Agreement or an Affiliate of a party to

  the Agreement (including any Governmental Authority), then (1) such consent, authorization,

  approval or waiver is not required and/or (2) the Purchased Asset subject to such consent,

  authorization, approval or waiver shall be assigned or transferred regardless of any such

  restriction or necessary consent, authorization, approval or waiver and that there shall be no

  breach or adverse effect on the rights of the Debtor or the Buyer for the failure to obtain any such

  consent, authorization, approval or waiver or otherwise comply with such restriction.

         11.     A certified copy of this Sale Order may be filed with the appropriate clerk and/or

  recorded with the recorder of any state, county, or local authority to act to cancel any of the

  Liens or Claims of record except those assumed as Assumed Liabilities or Permitted

  Encumbrances.


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          12.     The provisions of this Sale Order authorizing the transfer of the Property free and

  clear of all Liens or Claims (other than Permitted Encumbrances and Assumed Liabilities) shall

  be self-executing, and the Debtor, the Buyer, and creditors shall not be required to execute or file

  releases, termination statements, assignments, consents, or other instruments in order for the

  provisions of this Sale Order to be effectuated, consummated and/or implemented.

          13.     This Sale Order is and shall be effective as a determination that, on the Closing

  Date, all Liens, Claims, or other interests of any kind or nature whatsoever existing as to the

  Property prior to the Closing Date, other than Permitted Encumbrances and Assumed Liabilities,

  or as otherwise provided in this Sale Order, shall have been unconditionally released, discharged,

  and terminated, and that the conveyances described herein have been effected.

          14.     This Sale Order is and shall be binding upon and govern the acts of all persons

  and entities, including, without limitation, all filing agents, filing officers, title agents, title

  companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

  agencies, governmental departments, secretaries of state, federal, state, and local officials, and all

  other persons and entities who may be required by operation of law, the duties of their office, or

  contract, to accept, file, register, or otherwise record or release any documents or instruments, or

  who may be required to report or insure any title or state of title in or to any lease; and each of

  the foregoing persons and entities is hereby directed to accept for filing any and all of the

  documents and instruments necessary and appropriate to consummate the transactions

  contemplated by the Agreement.

          15.     Subject to the terms, conditions, and provisions of this Sale Order, all persons and

  entities are hereby forever prohibited and enjoined from taking any action that would adversely




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  affect or interfere with the ability of the Debtor to sell and transfer the Property to the Buyer in

  accordance with the terms of this Agreement and this Sale Order.

         16.     To the greatest extent available under applicable law, the Buyer shall be

  authorized, as of the Closing Date, to operate under any license, permit, registration, and

  governmental authorization or approval of the Debtor with respect to the Property, and all such

  licenses, permits, registrations, and governmental authorizations and approvals are deemed to

  have been, and hereby are, deemed to be transferred to the Buyer as of the Closing Date.

         17.     To the extent permitted by section 525 of the Bankruptcy Code, no governmental

  unit may revoke or suspend any permit or license relating to the operation of the Property sold,

  transferred, or conveyed to the Buyer on account of the filing or pendency of the Debtors’

  chapter 11 cases or the consummation of the transactions contemplated by the Agreement.

         18.     Notwithstanding any provision in the Agreement or this Order, any assignment

  and/or transfer of any interests in contracts, leases, covenants, operating rights agreements,

  rights-of-use and easements, and rights–of-way or other interests or agreements: (a) with the

  federal government; (b) involving federal land or minerals; (c) with the State of Utah; or (d)

  involving Utah State land or minerals (collectively, the “Government Leases”) will be ineffective

  absent the consent of the United States or the State of Utah, as applicable. The Debtor and Buyer

  agree to comply with all applicable bankruptcy and non-bankruptcy law with respect to the

  Government Leases, including any decommissioning obligations and financial assurance

  requirements under the Government Leases as determined by the United States or the State of

  Utah, as applicable (as provided for under applicable law and the Government Leases).

         19.     Nothing in this Order shall be interpreted to require the United States or the State

  of Utah to novate, approve, or otherwise consent to the assignment and/or transfer of any


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  interests in the Government Leases. Except to the extent already paid by the Debtor, the

  obligations for any amounts owed to the United States known to date under any Government

  Leases sought to be assumed and/or sold, assigned and/or transferred, must be ratified and

  assumed by the Buyer and shall be paid in full as soon as practicable by the later of (i) the

  Closing Date; or (ii) when due in the ordinary course. If the Buyer does not pay these amounts

  by the deadline set forth above, late payment charges will be due on the untimely payment at the

  rate established at 30 C.F.R. § 1218.54. For the avoidance of doubt, in order to obtain the

  consent of the United States or the State of Utah, as applicable, all existing defaults under the

  Government Leases, including any outstanding rents or royalties known to date plus interest,

  must be assumed and cured. By no later than the Closing Date, Debtor agree to submit to ONRR

  all presently identified missing production reports and associated royalty reports that the Debtor

  failed to submit to ONRR; to the extent that such reports are not submitted by Debtor to ONRR

  by the Closing Date, Buyer agrees to submit such missing reports not later than thirty (30) days

  after the Closing Date. The United States Department of Interior (“DOI”) and the State of Utah

  will retain and have the right to audit and/or perform any compliance review, and if appropriate,

  collect from the Debtor and/or the Buyer any additional monies owed by the Debtor prior to the

  transfer or assignment of the Government Leases without those rights being adversely affected

  by these bankruptcy proceedings. The Debtors and their successors and assigns will retain all

  defenses and/or rights, other than defenses and/or rights arising from the bankruptcy, to

  challenge such determination provided, however, that any such challenge, including any

  challenge associated with this bankruptcy proceeding, must be raised in the United States’

  administrative review process leading to a final agency determination by ONRR. With respect to

  the DOI’s audit and review rights, the audit and/or compliance review period shall remain open


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  for the full statute of limitations period established by the Federal Oil and Gas Royalty

  Simplification and Fairness Act of 1996 (30 U.S.C. §§1701, et seq.).

         20.     Nothing in this Sale Order or the Agreement releases, nullifies, precludes or

  enjoins the enforcement of any police or regulatory liability to a governmental unit that any

  entity would be subject to as the owner or operator of property after the date of entry of this Sale

  Order. Nothing in this Sale Order or the Agreement authorizes the transfer or assignment of any

  governmental (a) license, (b) permit, (c) registration, (d) authorization, or (e) approval, or the

  discontinuation of any obligation thereunder, without compliance with all applicable legal

  requirements and approvals under police or regulatory law. Nothing in this Sale Order divests

  any tribunal of any jurisdiction it may have under police or regulatory law to interpret this Sale

  Order or to adjudicate any defense asserted under this Sale Order.

         21.     The Debtor and the Buyer will retain all defenses and/or rights to challenge any

  determinations relating to the Government Leases; provided that any such challenge, including

  any challenge associated with this bankruptcy proceeding, must be raised in the applicable

  government’s administrative review process leading to a final agency determination. The audit

  and/or compliance review period shall remain open for the full statute of limitations period

  established by the Federal Oil and Gas Royalty Simplification and Fairness Act of 1996 (30

  U.S.C. § 1701, et seq.) to the extent applicable to the Government Leases under non-bankruptcy

  law. Nothing in this Sale Order shall affect the police and regulatory powers of the United States

  or the State of Utah.

         22.     The Debtor’s Property is also subject to a Consent Decree entered March 24,

  2014, in the case Gasco Energy, Inc. v. Environmental Protection Agency, Civil No. 1:12-CV-

  1658-MSK-BNB (D. Colo.) which resolved allegations concerning violations of Section 404 of


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  the Clean Water Act by illegally filling wetlands located in an area designated by the United

  States Fish and Wildlife Service as critical habitat for several endangered species of fish

  (specifically the Colorado pikeminnow, bonytail, humpback chub, and razorback sucker).

  Pursuant to the Consent Decree, the Debtor implemented a wetlands restoration plan, which

  included among other things, removing fill and planting of wetlands vegetation. The Debtor was

  to monitor the restoration for at least five growing seasons and ensure compliance with the

  Restoration Plan set forth in the Consent Decree until success criteria are satisfied. A portion of

  the Property includes a portion of the access road leading to a well known as Lamb Trust 24-14-

  9-19, as well as in the vicinity of another filled wetlands area. The Sale is subject to all

  requirements of the Consent Decree and after Closing, the Buyer shall complete the monitoring

  activities required by the Consent Decree and Restoration Plan, and undertake all additional

  restoration activities necessary to comply with the Restoration Plan. The Buyer is not liable for

  paying any pre-petition fines or claims the Debtor owes under the Consent Decree, provided

  however, that the obligations under the Consent Decree after the Closing Date are Permitted

  Encumbrances.

                             Assumption and Assignment of Contracts.

         23.     The Debtor is hereby authorized and directed in accordance with sections 105(a)

  and 365 of the Bankruptcy Code to (a) assume and assign to Buyer, effective upon the Closing of

  the Sale, the Assumed Contracts free and clear of all Liens, Claims, and other interests of any

  kind or nature whatsoever (other than the Permitted Encumbrances and Assumed Liabilities),

  and (b) execute and deliver to Buyer such documents or other instruments as Buyer reasonably

  deems may be necessary to assign and transfer the Assumed Contracts, Permitted Encumbrances,

  and Assumed Liabilities to Buyer.


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         24.     With respect to the Assumed Contracts: (a) the Debtor may assume each of the

  Assumed Contracts in accordance with section 365 of the Bankruptcy Code, (b) the Debtor may

  assign each Assigned Contract in accordance with sections 363 and 365 of the Bankruptcy Code,

  and any provisions in any Assigned Contract that prohibit or condition the assignment of such

  Assigned Contract or allow the party to such Assigned Contract to terminate, recapture, impose

  any penalty, condition renewal or extension, or modify any term or condition upon the

  assignment of such Assigned Contract, constitute unenforceable anti-assignment provisions

  which are void and of no force and effect, (c) all other requirements and conditions under

  sections 363 and 365 of the Bankruptcy Code for the assumption by the Debtor and assignment

  to Buyer of each Assigned Contract have been satisfied, (d) the Assumed Contracts shall be

  transferred and assigned to, and following the closing of the Sale remain in full force and effect

  for the benefit of, Buyer, notwithstanding any provision in any such Assigned Contract

  (including those of the type described in sections 365(b)(2) and (f) of the Bankruptcy Code) that

  prohibits, restricts, or conditions such assignment or transfer and, pursuant to section 365(k) of

  the Bankruptcy Code, the Debtor shall be relieved from any further liability with respect to the

  Assumed Contracts after such assignment to and assumption by Buyer, and (e) upon Closing, in

  accordance with sections 363 and 365 of the Bankruptcy Code, the Buyer shall be fully and

  irrevocably vested in all right, title and interest of each Assigned Contract.

         25.     Unless otherwise agreed and stated on the record at the Sale Hearing, the

  respective amounts set forth under the “Cure Amount” column on Exhibit 1 attached hereto

  reflects the sole amounts necessary under section 365(b) of the Bankruptcy Code to cure all

  monetary defaults and pay all pecuniary losses under the Assumed Contracts (collectively, the




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  “Cure Amounts”), and no other amounts are or shall be due in connection with the assumption

  by the Debtor and the assignment to the Buyer of the Assumed Contracts.

         26.     All defaults or other obligations of the Debtor under the Assumed Contracts

  arising or accruing prior to the Closing (without giving effect to any acceleration clauses or any

  default provisions of the kind specified in section 365(b)(2) of the Bankruptcy Code) shall be

  cured by the Buyer at the Closing or as soon thereafter as practicable by payment of the Cure

  Amounts.

         27.     Except for a Contract Counterparty who has filed a timely objection to the Cure

  Amount by October 17, 2017 or by the objection date applicable to any Previously Omitted

  Contracts (whose objection shall be resolved in accordance with the procedures set forth in the

  Bid Procedures Order) (a “Contract Objection”), such counterparty is deemed to have consented

  to such Cure Amount.

         28.     Except for a Contract Counterparty who has filed a timely Contract Objection to

  the Debtor’s proposed assignment of such Assigned Contract to the Buyer (whose objection shall

  be resolved in accordance with the procedures set forth in the Bid Procedures Order), such

  counterparty is deemed to have consented to assumption and assignment, and the Buyer shall be

  deemed to have demonstrated adequate assurance of future performance with respect to such

  Assigned Contract pursuant to sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code.

         29.     With respect to any timely-filed Contract Objections, such objections shall be

  resolved in accordance with the procedures set forth in the Bid Procedures Order. The provisions

  of this Sale Order shall be effective and binding upon Contract Counterparties to the extent set

  forth in, and in accordance with, such procedures. Nothing in this Sale Order, the Sale Motion, or

  in any notice or any other document is or shall be deemed an admission by the Debtor that any


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  contract or Contract is an executory contract or unexpired lease or must be assumed and assigned

  pursuant to the Agreement or in order to consummate the Sale.

         30.     Upon the Debtor’s assignment of the Assumed Contracts to the Buyer under the

  provisions of this Sale Order and any additional orders of this Court and Buyer’s payment of any

  Cure Amounts pursuant to the terms hereof, no default shall exist under any Assigned Contract,

  and no counterparty to any Assigned Contract shall be permitted (a) to declare a default by the

  Buyer under such Contract or (b) otherwise take action against the Buyer as a result of any

  Debtor’s financial condition, bankruptcy, or failure to perform any of its obligations under the

  relevant Assigned Contract. Except insofar as a Contract Counterparty has filed or may timely

  file and prosecute a Contract Objection as provided by the Bid Procedures Order, each non-

  Debtor party to a Contract hereby is also forever barred, estopped, and permanently enjoined

  from (i) asserting against the Debtor or Buyer, or the property of any of them, any default or

  Claim arising out of any indemnity obligation or warranties for acts or occurrences arising prior

  to or existing as of the Closing, or, against Buyer, any counterclaim, defense, setoff, or any other

  Claim asserted or assertable against the Debtor and (ii) imposing or charging against Buyer or its

  affiliates any rent accelerations, assignment fees, increases, or any other fees as a result of the

  Debtor’s assumption and assignments to Buyer of the Assumed Contracts. The validity of such

  assumption and assignments of the Assumed Contracts shall not be affected by any dispute

  between the Debtor and any non-Debtor party to an Assigned Contract relating to such Assigned

  Contract’s respective Cure Amount.

         31.     The failure of the Debtor or Buyer to enforce at any time one or more terms or

  conditions of any Assigned Contract shall not be a waiver of such terms or conditions, or of the

  Debtor’s and Buyer’s rights to enforce every term and condition of the Contracts.


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                              Prohibition of Actions Against the Buyer

         32.     Except for the Permitted Encumbrances and Assumed Liabilities, or as otherwise

  expressly provided for in this Sale Order or the Agreement, the Buyer shall not have any liability

  or other obligation of the Debtor arising under or related to any of the Property. Without limiting

  the generality of the foregoing, and except as otherwise specifically provided in this Sale Order

  or in the Agreement, the Buyer shall not be liable for any Claims against the Debtor or any of its

  predecessors or affiliates, and the Buyer shall have no successor or vicarious liabilities of any

  kind or character, including, but not limited to, under any theory of antitrust, environmental,

  successor, or transferee liability, labor law, de facto merger, mere continuation, or substantial

  continuity, whether known or unknown as of the Closing Date, now existing or hereafter arising,

  whether fixed or contingent, asserted or unasserted, legal or equitable, liquidated or unliquidated.

         33.     The Buyer has given substantial consideration under the Agreement for the

  benefit of the Debtor, its estate, and its creditors. The consideration given by the Buyer shall

  constitute valid and valuable consideration for the releases of any potential Claims and Liens

  pursuant to this Sale Order, which releases shall be deemed to have been given in favor of the

  Buyer by all holders of Liens against or interests in, or Claims against the Debtor or any of the

  Property, other than holders of Liens or Claims relating to the Permitted Encumbrances or

  Assumed Liabilities. The consideration provided by the Buyer for the Property under the

  Agreement is fair and reasonable and, accordingly, the Sale may not be avoided under section

  363(n) of the Bankruptcy Code.

                                        Permanent Injunction

         34.     All persons and entities are prohibited and enjoined from taking any action to

  adversely affect or interfere with the ability of the Debtor to transfer the Property to the Buyer in

  accordance with the Agreement and this Sale Order. Following the Closing, except for persons
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  entitled to enforce Assumed Liabilities and Permitted Encumbrances, all Persons, including but

  not limited to (i) the Debtor and/or its respective successors (including any trustee), (ii) creditors,

  (iii) investors, (iv) current and former employees and shareholders, and (v) the successors and

  assigns of each of the foregoing holding Liens, Claims or other interests in the Property or

  against the Debtor with respect to the Property of any kind or nature whatsoever shall be, and

  hereby are, forever barred, estopped, and permanently enjoined from asserting, prosecuting, or

  otherwise pursuing any Liens, Claims or other interests of any kind or nature whatsoever against

  the Buyer or any Affiliate of the Buyer or any of their respective property, successors and

  assigns, or the Property, as an alleged successor or on any other grounds. No Person shall assert,

  and the Buyer and the Property shall not be subject to, any defaults, breaches, counterclaims,

  offsets, defenses (whether contractual or otherwise, including, without limitation, any right of

  recoupment), liabilities, claims and interests, or basis of any kind or nature whatsoever to delay,

  defer, or impair any right of the Buyer or the Debtor, or any obligation of any other party, under

  or with respect to any Property, with respect to any act or omission that occurred prior to the

  Closing, or with respect to any other agreement or any obligation of the Debtor that is not an

  Assumed Liability.

                               Post-Closing Actions and Transactions

         35.     The Debtor and the Buyer, and each of their respective officers, employees, and

  agents, will be authorized and empowered to take all actions and execute and deliver any and all

  documents and instruments that either the Debtor or the Buyer deem necessary or appropriate to

  implement and effectuate the terms of the Agreement and this Sale Order. Further, effective as of

  the Closing, the Buyer and its successors and assigns shall be designated and appointed the

  Debtor’s true and lawful attorney and attorneys, with full power of substitution, in the Debtor’s


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  name and stead, to demand and receive any and all of the Property, and from time to time

  institute and prosecute in the name of the Buyer, for the benefit of the Buyer, its successors and

  assigns, any and all proceedings at law, in equity, or otherwise, that the Buyer, its successors or

  assigns, may deem proper for the collection or reduction to possession of any of the Property,

  and to do all acts and things with respect to the Property that the Buyer, or its successors and

  assigns, shall deem desirable. All of the foregoing powers granted to the Buyer are coupled with

  an interest and are irrevocable by the Debtor.

          36.     At the closing of the Sale to the Buyer, the Buyer shall deliver the cash purchase

  price payable under the Agreement directly to the Debtor, which shall hold such proceeds

  pending further Court order that determines and resolves the nature, extent, and priority of all

  creditors who assert secured claims and/or Liens against such proceeds including Halliburton and

  Garrison Loan Agency Services LLC (the “Agent”), in its capacity as administrative agent for

  the Debtor’s prepetition and postpetition credit facilities. All parties in interest asserting a

  secured claim and/or Lien against the Debtor, including the Agent and Halliburton, but excluding

  Wapiti Oil & Gas II, LLC (“Wapiti II”), reserve their rights and claims in connection with

  determination of the nature, extent, validity, and priority of such asserted secured claims and/or

  Liens against the proceeds of the Sale, including the claims pending in the Halliburton

  Adversary.

                                                No Waiver

          37.     Except as otherwise expressly set forth herein, nothing in this Sale Order shall

  modify or waive any closing conditions or termination rights in the Agreement, and all such

  conditions and rights shall remain in full force and effect in accordance with their terms.




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                                           Other Provisions

         38.     Notwithstanding anything in the Sale Order to the contrary, the Debtor hereby

  assumes and assigns to Buyer all the executory contracts between the Debtor and Wapiti II set

  forth on Exhibit 2 (the “Wapiti II Contracts”), subject to Wapiti II’s continued assertion that the

  COA terminated prepetition which shall be resolved by agreement or in adversary proceeding

  number 17-1377 KHT (the “Wapiti Adversary”). In addition, the Buyer shall substitute for the

  Debtor as the real party in interest in the Wapiti Adversary. The Buyer shall pay any and all

  cure costs related to assumption of the Wapiti II Contracts and shall pay any and all amounts

  determined to be owed by final order in the Wapiti Adversary. To reiterate, the Buyer shall be

  responsible for (i) any and all amounts determined to be due to Wapiti II as cure costs for the

  assumption of Wapiti II Contracts, (ii) all amounts that Wapiti II establishes are owed by the

  Debtor in the Wapiti Adversary, and (iii) any amounts that Wapiti II establishes that it would

  otherwise be owed from the sale proceeds, it being understood that none of the sale proceeds will

  be distributed to Wapiti II in the nature of a cure payment for assumption of the Wapiti II

  Contracts, satisfaction of an operator’s lien, or any other encumbrance, Lien, Claim, or Interest.

  If it is determined by agreement or in the Wapiti Adversary that the COA cannot be assumed by

  the Buyer, Buyer shall turnover operations to Wapiti II as soon as reasonably possible. In the

  event Buyer and the Wapiti II cannot resolve the Wapiti Adversary, then either the Buyer or

  Wapiti II may continue to prosecute the Wapiti Adversary or commence another litigation in any

  court of competent jurisdiction.

         39.     The sale of the Property is subject to the determination in the Monarch Adversary,

  subject to the parties’ rights to appeal, whether Monarch’s gas gathering agreement or the salt

  water disposal agreement is a “covenant running with the land” and thus cannot be sold free and

  clear. Subject to a decision and the entry of a final, non-appealable order in the Monarch
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  Adversary (which shall control the ultimate interests of the parties) if it is determined that the

  Monarch agreements cannot be rejected or sold free and clear, Buyer will be responsible for the

  obligations under the agreements, including any pre-petition obligations that cannot be sold free

  and clear, or that the Court otherwise determines must be cured by the Buyer. The Buyer is not

  responsible for paying any pre-petition claims that Monarch has against the Debtor unless it is

  determined in the Monarch Adversary, subject to the parties’ rights to appeal, that the Buyer is

  required to pay such pre-petition claims.

         40.     The transactions contemplated by the Agreement are undertaken by the Buyer

  without collusion and in good faith, as that term is defined in section 363(m) of the Bankruptcy

  Code, and, accordingly, the reversal or modification on appeal of the authorization provided

  herein to consummate the Sale shall not affect the validity of the Sale, unless such authorization

  and such Sale are duly stayed pending such appeal. The Buyer is a good faith buyer within the

  meaning of section 363(m) of the Bankruptcy Code and, as such, is entitled to the full protections

  of section 363(m) of the Bankruptcy Code.

         41.     Nothing contained in the Agreement or this Sale Order shall affect, relieve, alter,

  discharge, or otherwise impair any non-Debtor’s liability for any Reclamation Obligations,

  Excluded Liabilities, or other costs such non-Debtor is liable for by contract, statute, or common

  law.

         42.     Nothing contained in any plan of reorganization or liquidation, or order of any

  type or kind entered in (a) these chapter 11 cases, (b) any subsequent chapter 7 case into which

  any such chapter 11 case may be converted, or (c) any related proceeding subsequent to entry of

  this Sale Order, shall conflict with or derogate from the provisions of the Agreement or the terms

  of this Sale Order.


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         43.     For cause shown, pursuant to Bankruptcy Rules 6004(h) and 6006(d), this Sale

  Order shall not be stayed, shall be effective immediately upon entry, and the Debtor and Buyer

  are authorized to close the Sale immediately upon entry of this Sale Order.

         44.     The failure to specifically include any particular provision of the Agreement in

  this Sale Order shall not diminish or impair the effectiveness of such provision, it being the

  intent of the Court that the Agreement be authorized and approved in its entirety; provided that

  this Sale Order shall govern if there is any inconsistency between the Agreement (including all

  ancillary documents executed in connection therewith) and this Sale Order. Likewise, all of the

  provisions of this Sale Order are non-severable and mutually dependent.

         45.     The Agreement and any related agreements, documents or other instruments may

  be modified, amended, or supplemented by the parties thereto and in accordance with the terms

  thereof, without further order of the Court, provided that any such modification, amendment or

  supplement does not have a material adverse effect on the Debtor’s estate or lower the amount of

  cash proceeds paid.

         46.     The Court shall retain jurisdiction to, among other things, interpret, implement,

  and enforce the terms and provisions of this Sale Order and the Agreement, all amendments

  thereto and any waivers and consents thereunder and each of the agreements executed in

  connection therewith to which Debtor is a party or which has been assigned by the Debtor to the

  Buyer, and to adjudicate, if necessary, any and all disputes concerning or relating in any way to

  the Sale, including, but not limited to, retaining jurisdiction to (a) compel delivery of the

  Property to the Buyer, (b) interpret, implement, and enforce the provisions of this Sale Order;

  (c) protect Buyer against any Liens, Claims, or other interest in or against the Seller or the

  Property of any kind or nature whatsoever, attaching to the proceeds of the Sale, and (d) enter


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  any orders under sections 363 and 365 of the Bankruptcy Code with respect to the Assumed

  Contracts.

         47.     Nothing in this Sale Order or the Agreement (a) releases, nullifies, or enjoins the

  enforcement of any liability to a governmental unit under police and regulatory statutes or

  regulations that any entity would be subject to as the owner or operator of property after the date

  of entry of this Sale Order and (b) authorizes the transfer or assignment to Buyer of any license,

  permit, registration, authorization, or approval of or with respect to a governmental unit without

  Buyer’s complying with all applicable legal requirements under non-bankruptcy law governing

  such transfers or assignments.

         48.     To the extent that this Sale Order is inconsistent with any prior order or pleading

  with respect to the Sale Motion in these chapter 11 cases, the terms of this Sale Order shall

  govern.

         49.     Entry of this Sale Order is without prejudice to the rights of Dorrier Equities, Ltd.

  and Markham, LLC c/o McIntyre Partners to assert any further objections to the distribution of

  sale proceeds, or to assert any objection, right, claim, or interest in any of the above-captioned

  Debtors’ Chapter 11 cases, all of which rights, claims, and interests are reserved to Dorrier

  Equities, Ltd. and Markham, LLC c/o McIntyre Partners as parties in interest under the

  Bankruptcy Code and applicable law. Further, entry of this Sale Order is without prejudice to

  the Debtors, the Agent, or any other party to respond to any objection and/or assert an interest in

  sale proceeds, and the reservation of rights set forth in this paragraph shall not waive, modify, or

  impair the rights of the Debtors and/or the Agent to enforce the terms of any subordination

  agreements or other agreements between the parties, including the right to assert that any

  objection raised by Dorrier Equities, Ltd. and/or Markham, LLC c/o McIntyre Partners is


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  prohibited by or violates such agreements. Moreover, the reservation of rights set forth in this

  paragraph shall not expand any rights or release any obligations of Dorrier Equities, Ltd. and/or

  Markham, LLC c/o McIntyre Partners that have been voluntarily waived by agreement of the

  parties.

             Dated: October 26, 2017.

                                               BY THE COURT:



                                               Hon. Kimberley H. Tyson
                                               United States Bankruptcy Judge




                                                  31
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                                   Exhibit 1

                               Assumed Contracts
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                                            Exhibit 2

                                      Wapiti II Contracts

   Contract Name                                                                      Date
   Amendment No.1 To Development Agreement                                       2/12/2014
   Assignment and Assumption Agreement                                           3/20/2012
   Assignment and Bill of Sale (Wapiti Non-Producing Interests)                   9/1/2011
   Closing Agreement                                                             3/22/2012
   Contract Operating Agreement                                                  3/22/2012
   Development Agreement                                                         3/22/2012
   Joinder To Amended and Restated Gas Gathering and Processing Agreement        3/22/2012
   Model Form Operating Agreement - Badlands Production Company (4)              3/22/2012
   Model Form Operating Agreement - Wapiti Oil & Gas II, LLC                     3/22/2012
   License Agreement                                                             3/22/2012
   Purchase and Sale Agreement                                                   2/23/2012
   Tax Partnership Agreement                                                     3/22/2012
